Case 1: 04- -C\/- -01154- .]DT- STA Document 115 Filed 07/15/05 Page 1 of 4 Page|D 86
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IN THE UNITED STATES DISTRICT COURT ‘/U( / \O
FOR THE WESTERN DISTRICT 0F TENNESSEE,; 510 Q

EASTERN DIVISION QL<;,>'O ¢f?-,,;,.. 90 /.-4
/%51_5? ‘“;§ 21 3
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RBP, LLC, )“"/,11: g
) "1‘~’>°0%1
Plaintiff, )
)
vs. ) No. 04-1154 T/An
)
GENUINE PARTS CO. and INDIANA )
INSURANCE CO., )
)
Defendants. )
GENUINE PARTS CO., )
)
Third-Party Plaintiff, )
)
vs. )
)
ALLIANZ GLOBAL RISK U.S. )
INSURANCE CO. and LEXINGTON )
INSURANCE CO., )
)
)

Third-Party Defendants.

 

AMENDED ORDER SETTING HEARING

 

Before the Court is Plaintiff’s. and Third-Party Defendants’ Joint Motion to Set Asicle
Order Granting Plaintiff’$ Third Motion to Amend filed on July 6, 2005. United States District
Judge J ames D. Todd entered an Order Granting the Motion to Set Aside; however, it is
ORDERED that a hearing Shall be held before United States Magistratc Judge S. Thomas
Anderson on TUESDAY, JULY 26, 2005 at 10:00 A.M. in the Magistrate ludge Courtroorn,

4th Floor, United States Courthouse, 111 S. Highland Avenue, Jackson, Tennessee. All counsel

Thls document entered on the docket she

et in compliance
with nme 58 and,' or _79 (a) FHCP on 7

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Case 1:04-cv-01154-.]DT-STA Document 115 Filed 07/15/05 Page 2 of 4 Page|D 87

are invited to attend the hearing, but only counsel for the Plaintiff and the Third-Party Defendants
are required to participate Local Counsel for Third-Party Defendant Allianz Global Risks U.S.
lnsurance Company (“Allianz”) may appear for A]lianz, and counsel for Third-Party Lexington
Insurance Conipany may appear by telephone The purpose of the hearing Will be to determine if
sanctions should be imposed for Plaintifi‘s failure to properly consult with opposing counsel as
required by the Local Rules of court and to determine if defense counsel Was in fact provided a

copy of the Third Motion to Amend as indicated in the Certificate of Service_

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S. THOMAS ANDERSON
UNlTED STATES MAGISTRATE JUDGE

IT IS SO ORDERED.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 115 in
case 1:04-CV-01154 Was distributed by faX, mail, or direct printing on
July 18, 2005 to the parties listed.

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Case 1:04-cv-01154-.]DT-STA Document 115 Filed 07/15/05 Page 4 of 4 Page|D 89

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Honorable J ames Todd
US DISTRICT COURT

